        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 1 of 12




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


CHRISTIAN DELGADO,

                    Petitioner,                        DECISION AND ORDER
             v.
                                                       6:17-CR-6060 EAW
UNITED STATES OF AMERICA,                              6:18-CV-6698 EAW

                    Defendant.


I.    BACKGROUND
      On or about October 18, 2017, petitioner Christian Delgado (“Petitioner”) pleaded

guilty pursuant to a plea agreement (Dkt. 35)1 to a two-count Information (Dkt. 34)

charging violations of 21 U.S.C. § 841(a)(1) (possession of cocaine with intent to

distribute) and 18 U.S.C. § 922(g)(1) (possession of firearm and ammunition by a

convicted felon). On January 22, 2018, the Court sentenced Petitioner to a term of 151

months incarceration on each of Counts 1 and 2 to run concurrently, and a three-year term

of supervised release. (Dkt. 44). On January 29, 2018, Petitioner was re-sentenced to a

term of 151 months incarceration on Count 1, and 120 months on Count 2 to run

concurrently to Count 1, for a total term of 151 months imprisonment, as well as a three-

year term of supervised release. (Dkt. 46). That sentence was consistent with the Rule

11(c)(1)(C) plea agreement and fell within the range of the appellate/collateral attack

waiver contained in the plea agreement (i.e., 151 to 188 months incarceration). (See Dkt.



1
      All references to the docket in the instant Decision and Order are to the docket in
Criminal Action No. 6:17-CR-6060.
                                           -1-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 2 of 12




35 at ¶¶ 11, 12, 20). Petitioner did not pursue a direct appeal of the Court’s sentence.

Petitioner was represented at that time by Assistant Public Defender Steven G. Slawinski.

       On or about September 25, 2018, Petitioner filed a pro se motion pursuant to 28

U.S.C. § 2255, seeking to vacate, set aside, or correct the sentence. (Dkt. 49). The

government filed its answer on March 19, 2019 (Dkt. 57), and Petitioner filed a reply on

April 16, 2019 (Dkt. 58). In that reply, Petitioner raised a new argument that he should

have been appointed an interpreter for purposes of his court proceedings because English

is not his native language. (Id. at 2).

       Because Petitioner raised new issues in his reply papers, the Court issued an Order

on December 12, 2019, requesting further briefing from the government. (Dkt. 59). On

January 7, 2020, the government filed a motion seeking an order declaring that Petitioner

waived the attorney-client privilege with respect to the claims of ineffective assistance of

counsel raised in the § 2255 motion and requiring Petitioner’s former counsel to file an

affidavit with respect to Petitioner’s claims of ineffective assistance of counsel. (Dkt. 60).

The Court initially granted this motion (Dkt. 61), but subsequently revisited the issue and

stayed any requirement that Petitioner’s former counsel file an affidavit (Dkt. 63).

       The government filed a sur-reply addressing the new issues raised in Petitioner’s

reply on February 28, 2020. (Dkt. 64).

II.    DISCUSSION

       A.     Legal Standard

       A prisoner in federal custody may challenge the validity of his sentence by filing a

petition for a writ of habeas corpus, pursuant to 28 U.S.C. § 2255, to vacate, set aside, or

                                            -2-
         Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 3 of 12




correct his sentence. See 28 U.S.C. § 2255(a). “Section 2255 provides relief in cases where

the sentence: (1) was imposed in violation of the U.S. Constitution or the laws of the United

States; or (2) was entered by a court without jurisdiction to impose the sentence; or (3)

exceeded the maximum detention authorized by law; or (4) is otherwise subject to collateral

attack.” Adams v. United States, 372 F.3d 132, 134 (2d Cir. 2004) (citing 28 U.S.C.

§ 2255)).

        In reviewing a pro se petition for habeas corpus, the Court must be mindful that “[a]

document filed pro se is to be liberally construed, and a pro se [pleading], however

inartfully pleaded, must be held to less stringent standards than formal pleadings drafted

by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (internal quotations and citations

omitted); see also Williams v. Kullman, 722 F.2d 1048, 1050 (2d Cir. 1983) (“[D]ue to the

pro se petitioner’s general lack of expertise, courts should review habeas petitions with a

lenient eye. . . .”).

        B.      Merits of Petitioner’s Claims

        Petitioner’s plea agreement provides that he “knowingly waives the right to appeal

and collaterally attack any component of a sentence imposed by the Court” within or less

than 151 to 188 months imprisonment, a fine of $30,000 to $1,000,000, and a period of

supervised release of three years. (Dkt. 35 at 7, 10). As noted above, the sentence imposed

in this case is within the range of the appellate/collateral attack waiver contained in the

plea agreement.

        “A defendant’s knowing and voluntary waiver of the right to appeal or collaterally

attack his conviction and/or sentence is enforceable.” Sanford v. United States, 841 F.3d

                                            -3-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 4 of 12




578, 580 (2d Cir. 2016). There are a limited set of circumstances under which a court can

set aside a collateral attack wavier, “such as (1) when the waiver was not made knowingly,

voluntarily, and competently, (2) when the sentence was imposed based on constitutionally

impermissible factors, such as ethnic, racial or other prohibited biases, (3) when the

government breached the plea agreement, or (4) when the sentencing court failed to

enunciate any rationale for the [petitioner’s] sentence, thus amounting to an abdication of

the judicial responsibility subject to mandamus.” Id. Additionally, such a waiver is

unenforceable if it “was the result of ineffective assistance of counsel[.]” United States v.

Monzon, 359 F.3d 110, 119 (2d Cir. 2004).

       Here, reading his submissions liberally in light of his pro se status, Petitioner has

argued that: (1) he was unable to understand the plea proceedings due to his lack of fluency

in English, and counsel’s failure to recognize this fact and obtain an interpreter amounted

to ineffective assistance; (2) counsel was ineffective because Petitioner was not shown the

actual plea agreement, but instead was shown an earlier version with a lower sentencing

range; and (3) counsel was ineffective by incorrectly advising Petitioner that he was a

career offender. The Court has considered these arguments and, for the reasons set forth

below, concludes that the collateral attack waiver was entered into knowingly, voluntarily,

and competently, and with the effective assistance of counsel, and is thus enforceable.

              1.     Ability to Speak and Understand English

       First, as to Petitioner’s ability to speak and understand English, the Court explored

this issue with Petitioner during the plea hearing. Specifically, the Court asked Petitioner,

“Can you read, write, and understand English?” to which he replied, “Yes.” (Dkt. 52 at 4).

                                            -4-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 5 of 12




The Court further asked Petitioner whether he had been educated in the United States or

Puerto Rico (where he was born), to which he replied, “Both, ma’am.” (Id.). More

specifically, Petitioner advised the Court that he had attended school in the United States

from the sixth grade to the twelfth grade. (Id.).

       As the Supreme Court has explained, “the representations of the defendant, his

lawyer, and the prosecutor at” a plea hearing, “as well as any findings made by the judge

accepting the plea, constitute a formidable barrier in any subsequent collateral

proceedings.” Blackledge v. Allison, 431 U.S. 63, 73-74 (1977). This is so because

“[s]olemn declarations in open court carry a strong presumption of verity.” Id.; see also

United States v. Torres, 129 F.3d 710, 715 (2d Cir. 1997) (noting that “statements at a plea

allocution carry a strong presumption of veracity”). The presumption that Petitioner was

being truthful when he told the Court that he could read, write, and understand English

during the plea hearing has not been overcome in this case.

       Contrary to Petitioner’s current argument that he answered all of the Court’s

questions “with the monosyllabic ‘yes’ or ‘yes, mam’s indicative of [his] command of the

language” and “[n]ot a single word beyond that” (Dkt. 58 at 5), Petitioner engaged

intelligently and understandably with the Court in English during the plea hearing. For

example, when the Court asked Petitioner whether he had ever been treated for any mental

or emotional disorders, Petitioner asked clarifying questions and explained to the Court, in

English, that he had been on medication for depression and anxiety when he was a child,

and that he had last taken the medication when he witnessed his foster mother dying in



                                            -5-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 6 of 12




front of him. (Dkt. 52 at 4-5). As a further example, Petitioner answered the question

“Where were you born, Mr. Delgado?” with “I was born in Puerto Rico.” (Id. at 4).

       Further, at the plea hearing, the Court expressly asked Petitioner “Is there any reason

that you’re not able to understand what’s happening here in court today?” and he replied

“I understand.” (Id. at 6). Petitioner’s counsel advised the Court that he had been

representing Petitioner for over a year and had never had any concerns about Petitioner’s

ability to understand him, and that he had no concerns about Petitioner’s “ability to

understand what’s going on today.” (Id.).

       Petitioner also conversed with the Court in English at the sentencing. For example,

when asked if there was anything he would like to say before he was sentenced, he

explained in English that he apologized for his actions, he asked the Court to “please take

it lightly on me,” he indicated that he “did learn my lesson,” and while acknowledging that

he “made many mistakes in my life,” he expressed hope that one day he would be forgiven.

(Dkt. 56 at 6).   At no time did it appear to the Court that Petitioner was struggling to

understand the proceedings, nor did Petitioner ever request an interpreter.

       The presentence investigation report (“PSR”) prepared in this matter confirmed that

Petitioner had attended high school in Boston, Massachusetts. (Dkt. 39 at 18). The PSR

further indicated that Petitioner completed an asbestos removal course in Rochester, New

York, and that he had previously been employed as the “Assistant Manager of Sales” at a

retail store in Rochester, New York. (Id. at 19).

       While Petitioner asserts that the Bureau of Prisons (“BOP”) has concluded that he

should be placed in a Spanish-language GED program and that this is evidence of his lack

                                            -6-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 7 of 12




of understanding of English (see Dkt. 58 at 2, 6), Petitioner has failed to provide the Court

with any supporting documentation that would confirm this assertion or explain what

standards the BOP applied in reaching this determination. Even accepting Petitioner’s

representation as true, the mere fact that the BOP placed Petitioner in a GED program

conducted in his native language does not overcome the strong presumption of truth in his

statements at the plea hearing.

       Petitioner told the Court at his plea hearing, under penalty of perjury, that he could

read, write, and understand English. Nothing in the record before the Court overcomes the

strong presumption that Petitioner was being truthful when he made that representation. It

thus necessarily follows that the lack of an interpreter does not render Petitioner’s plea

agreement unknowing or involuntary, nor can counsel be faulted for not having obtained

an interpreter. See, e.g., Khan v. United States, No. 07 CR. 711 LAP, 2014 WL 2111677,

at *8 (S.D.N.Y. Apr. 28, 2014) (rejecting argument that plea was not knowing and

voluntary: “[A] general review of the record in both the underlying criminal action and this

action indicates that Petitioner understands English.       Petitioner never requested an

interpreter at any of his appearances and appeared at all times to understand the proceedings

in English before him and the questions posed to him in English. These facts further

indicate that Petitioner can read, write, and understand English. In light of Petitioner’s

statements and conduct throughout these proceedings, there is no basis for Petitioner’s

claim that he does not speak, read, and understand English.”); Ebrahim v. LeConey, No.

10-CV-6397 MAT, 2012 WL 6155655, at *8 (W.D.N.Y. Dec. 11, 2012) (rejecting



                                            -7-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 8 of 12




ineffective assistance of counsel claim based on failure to obtain interpreter where the

record demonstrated that the petitioner could speak and understand English).

              2.     Effectiveness of Counsel

       The Court further finds no merit in Petitioner’s other claims that his former counsel

was ineffective. “The Sixth Amendment requires effective assistance of counsel at critical

stages of a criminal proceeding.” Lafler v. Cooper, 566 U.S. 156, 165 (2012). “Pursuant

to the well-known two-part test of Strickland v. Washington, 466 U.S. 668 (1984), a habeas

petitioner alleging ineffective assistance of counsel ‘must demonstrate (1) that his

counsel’s performance fell below what could be expected of a reasonably competent

practitioner; and (2) that he was prejudiced by that substandard performance.’” Woodard

v. Chappius, 631 F. App’x 65, 66 (2d Cir. 2016) (quoting Pearson v. Callahan, 555 U.S.

223, 241 (2009)). A court need not address both components of the Strickland inquiry if a

petitioner makes an insufficient showing on one. Garner v. Lee, 908 F.3d 845, 861 (2d

Cir. 2018).

       Here, as set forth above, Petitioner asserts ineffective assistance of counsel based

on his claims that (1) counsel did not show him the actual plea agreement and (2) counsel

incorrectly advised him that he was a career offender. As to the first of these arguments,

Petitioner’s factual assertion is flatly contradicted by the record. At the plea hearing, the

Court went through the provisions of the plea agreement in detail, including the potential

sentence. Petitioner then confirmed, under penalty of perjury, that he had read the plea

agreement, that he had had a full opportunity to discuss it with counsel, and that he fully

agreed with its contents. (Id. at 24-25). Petitioner’s current self-serving assertion that he

                                            -8-
        Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 9 of 12




never saw the plea agreement and that he did not understand its term is insufficient to

overcome the strong presumption that he was telling the truth during the plea hearing. The

record in this case simply does not support Petitioner’s assertion that counsel failed to show

him an accurate copy of the plea agreement.

       As to Petitioner’s second contention, this argument fails because counsel reasonably

advised Petitioner that he was a career offender for purposes of the Sentencing Guidelines.

For a defendant to qualify as a career offender under § 4B1.1 of the Sentencing Guidelines,

it is necessary that: (1) the defendant was at least 18 years old at the time he committed the

offense of conviction; (2) the offense of conviction is a felony that is either a crime of

violence or a controlled substance offense; and (3) the defendant has at least two prior

felony convictions of either a crime of violence or a controlled substance offense.

        It is clear that the first two elements were satisfied in this case. Defendant was

born in 1989 and was thus at least 18 years old at the time of the criminal conduct

underlying the instant matter which occurred in 2016. Possession with intent to distribute

cocaine—one of the offenses of conviction—is a controlled substance offense. United

States v. Richardson, 958 F.3d 151, 155 (2d Cir. 2020), cert. denied, 141 S. Ct. 423, 208

L. Ed. 2d 124 (2020).

       As to the third element, the record reflects that Defendant had two prior felony

convictions: a 2009 conviction for unlawful possession of a sawed-off shotgun in

Massachusetts and a 2014 conviction for criminal possession of a controlled substance in

the third degree in New York. (Dkt. 39 at 11). With respect to the first of these convictions,

“crime of violence” includes “the use or unlawful possession of a firearm described in 26

                                            -9-
       Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 10 of 12




U.S.C. § 5845(a)[.]” U.S.S.G. § 4B1.2(a)(2). In turn, 26 U.S.C. § 5845(a) defines

“firearm” as including “a weapon made from a shotgun if such weapon as modified has an

overall length of less than 26 inches or a barrel or barrels of less than 18 inches in length.”

Massachusetts law defines a “sawed-off shotgun” as “any weapon made from a shotgun,

whether by alteration, modification or otherwise, if such weapon as modified has one or

more barrels less than 18 inches in length or as modified has an overall length of less than

26 inches.” Mass. Gen. Laws Ann. Ch. 140, § 121. It was thus reasonable for counsel to

conclude that Defendant’s 2009 Massachusetts conviction for unlawful possession of a

sawed-off shotgun was a crime of violence for purposes of the career offender

determination

       As to Petitioner’s second conviction, the Court acknowledges that the law is not

entirely settled as to whether a New York conviction for criminal possession of a controlled

substance in the third degree—that is, a violation of New York Penal Law § 220.16—

constitutes a controlled substance offense for purposes of the career offender

determination. However, “[t]he Court need not definitively resolve this question,” because

the relevant inquiry is only “whether, in advising [Petitioner] that he qualified as a ‘career

offender’ . . . [Petitioner’s] defense attorney’s performance fell below an objective standard

of reasonableness.” Martinez v. United States, No. 14-CR-79, 2020 WL 435364, at *4

(W.D.N.Y. Jan. 28, 2020) (quotation omitted). In that regard, it is relevant that “[a]t the

time of [Petitioner’s] guilty plea, several courts had analyzed New York Penal Law

§ 220.16(1) [the relevant statutory subsection in this case] . . . and held that a violation of

that statute was a ‘controlled substance offense’ under the Guidelines.” Id. at *4. Under

                                            - 10 -
       Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 11 of 12




these circumstances, the Court cannot find that counsel’s conclusion that this conviction

constituted a controlled substance offense for purposes of the career offender determination

was objectively unreasonable. See id. (“[T[his Court finds that [the petitioner’s] attorney

was not ineffective in advising [the petitioner] that he qualified as a ‘career offender’ under

the Guidelines. . . . In fact, . . . a violation of New York Penal Law § 220.16(1) was and

is a controlled substance offense under the Guidelines.”); see also United States v. Sadler,

No. 16-CR-0297-8 (AMD), 2021 WL 2037863, at *5 (E.D.N.Y. May 21, 2021)

(“Counsel’s decision not to challenge the career offender enhancement was not an

‘unreasonable’ strategy that deprived the defendant of his Sixth Amendment rights” where

“at the time, . . . several courts in this circuit had unequivocally adopted” the position that

the conviction at issue was a controlled substance offense).

       For all these reasons, the Court finds that Petitioner has not demonstrated ineffective

assistance of counsel, nor has he demonstrated that the plea agreement (including the

collateral attack waiver) was not entered into knowingly, voluntarily, and competently.

Accordingly, there is no basis for the Court not to enforce the collateral attack waiver. See

Monzon, 359 F.3d at 119. The Court finds Petitioner’s § 2255 motion is barred by the

collateral attack waiver and must be dismissed.

III.   CONCLUSION

       For the foregoing reasons, the Court denies Petitioner’s § 2255 motion. (Dkt. 49).

The Clerk of Court is directed to close Civil Action No. 18-cv-6698.




                                            - 11 -
         Case 6:17-cr-06060-EAW Document 67 Filed 11/29/21 Page 12 of 12




         The Court declines to issue a certificate of appealability because Petitioner has

failed to make a substantial showing of the denial of a constitutional right. See 28 U.S.C.

§ 2253(c).

         SO ORDERED.



                                                    ________________________________
                                                    ELIZABETH A. WOLFORD
                                                    Chief Judge
                                                    United States District Court

Dated:         November 29, 2021
               Rochester, New York




                                           - 12 -
